AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                       Middle District of Tennessee

            UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                   V.                                (For Revocation of Probation or Supervised Release)

                  JESSE QUINN DAILEY
                                                                     Case No. 3:19-cr-00096
                                                                     USM No. 76557-065
                                                                      Eileen Parrish
                                                                                              Defendant's Attorney
THE DEFENDANT:
❑ admitted guilt to violation of condition(s)                                         of the tern of supervision.
❑ was found in violation of condition(s) count(s)                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                        Violation Ended




       The defendant is sentenced as provided in pages 2 through         3      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
S6 The defendant has not violated condition(s)          1 -4             and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec, No.: 7455                                               10/29/2020
                                                                                          Date of Imposition of Judgment
Defendant's Year of Birth:              1987

City and State of Defendant's Residence:                                                        Signature of Judge
Murfreesboro, TN
                                                                              Eli Richardson, United States District J
                                                                                              Name and Title of Judge

                                                                                                         It ~-.o Zo
                                                                                                         Date




                Case 3:19-cr-00096 Document 25 Filed 11/04/20 Page 1 of 3 PageID #: 84
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   2   of   3
DEFENDANT: JESSE QUINN DAILEY
CASE NUMBER: 3:19-cr-00096


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
As the alleged violations were dismissed, there is no term of imprisonment.




     ❑ The court makes the following recommendations to the Bureau of Prisons:




     ❑ The defendant is remanded to the custody of the United States Marshal.

     ❑ The defendant shall surrender to the United States Marshal for this district:
         ❑    at                                 ❑ a.m.         ❑ p.m. on
         ❑    as notified by the United States Marshal.

     ❑ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ❑    before 2 p.m. on
         ❑    as notified by the United States Marshal.
         ❑    as notified by the Probation or Pretrial Services Office.

                                                                     (.7D11119kie
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                           LM
                                                                                            DEPUTY UNITED STATES MARSHAL




               Case 3:19-cr-00096 Document 25 Filed 11/04/20 Page 2 of 3 PageID #: 85
AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                     Judgment—Page 3 of      3
DEFENDANT: JESSE QUINN DAILEY
CASE NUMBER: 3:19-cr-00096
                                                     SUPERVISED RELEASE
Upon release fi•om unprisomnent, you will be on supervised release for a term of :
 There is no new term of supervised release. The defendant is to continue with his previously imposed supervised
 release.




               Case 3:19-cr-00096 Document 25 Filed 11/04/20 Page 3 of 3 PageID #: 86
